Case 2:04-cV-02161-BBD-STA Document 28 Filed 06/13/05 Page 1 of 3 Page|D 43

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UNITED sTATEs DIsTRICT CoURT § q n
FOR THE WESTERN DISTRICT on TENNESSP§§ JUF~ l v PH 3= .13

 

WESTERN DIVISION
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W-D §§ ":'z'~.:, rl‘r\-t-iz~f.-F=.La::;
STEVEN W. BEAL,
Plaintiffs,
VS. NO. 04-216l-D/An

SECURlTY FIRE PROTECTION, INC.,

Defendants.

 

CONSENT ORDER ALLOWING RELEASE
OF PSYCHOLOGICAL RECORDS

 

IT APPEARlNG to the Court from statements of counsel, the parties and the record as a
whole, including the attached Medical Authorization Release, that Patient/Psychologist privilege
may hereby be Waived and that Psychologist, Rebecca Caperton, is hereby authorized to release
all information that she may possess relating to the treatment, examination, diagnosis, and all

other documents and records Which comprise the medical records and files of Steven Beal, a/k/a

JDGE `/

DATE: /J d;(

Sarnantha Beal.

APP_ OVED FOR ENTRY:

 
       

ST VEN . BEAL
Pro Se Plaintiff
1000 Sutton Place #Sl l
Horn Lake, MS 38637
(90l) 826-8622

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T`r‘-is document entered on the dock t sheet in compliance
with sale 5a and/or 79(3) FHcP on_ __ZLLZ/_~é§_

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P_ll.

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02161 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Mark Anthony Lambert

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Honorable Bernice Donald
US DISTRICT COURT

